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                                         IN RE: OIL SPILL by “Deepwater Horizon”
                                                    DIRECT FILING SHORT FORM 1
                            Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
              (Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
MDL 2179                                                               SECTION: J                                                JUDGE CARL BARBIER
      CLAIM IN LIMITATION--JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
               IN MASTER COMPLAINTS – PLAINTIFF/CLAIMANT PROFILE FORM
    By submitting this document, I am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
    al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
    Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
    [Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
    into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
    filed in MDL No. 2179 (10 md 2179).

    Last Name                                           First Name                                  Middle Name/Maiden                            Suffix
    Watkins                                            Frances                                     O'Neal
    Phone Number                                                                    E-Mail Address
    251-581-3102                                                                   GRAMS.09@hotmail.com
    Address                                                                         City / State / Zip
    90181 Alpine                                                                   Spanish Fort, AL 36527
    INDIVIDUAL CLAIM                                                                BUSINESS CLAIM                                ✔
    Employer Name                                                                   Business Name
                                                                                   All Star Bail Bonds
    Job Title / Description                                                         Type of Business
                                                                                   Bail Bond
    Address                                                                         Address
                                                                                   P.O. Box 695
    City / State / Zip                                                              City / State / Zip
                                                                                   Stapleton, AL 36578
    Last 4 digits of your Social Security Number                                    Last 4 digits of your Tax ID Number
    Tax ID 5408
    Attorney Name                                                                   Firm Name
    Elizabeth A. Citrin                                                            Elizabeth A. Citrin, P.C.
    Address                                                                         City / State / Zip
    28080 Highway 98, Suite G                                                      Daphne, AL 36526
    Phone Number                                                                    E-Mail Address
    (251) 626-8808                                                                 elizabeth@elizabethcitrin.com
    Claim filed with BP?                                                            Claim Filed with GCCF?:         YES                   NO      ✔
                                     YES                   NO      ✔


    If yes, BP Claim No.:                                                           If yes, Claimant Identification No.:


    Claim Type (Please check all that apply):
            Damage or destruction to real or personal property                         ✔       Fear of Future Injury and/or Medical Monitoring
    ✔       Earnings/Profit Loss                                                               Loss of Subsistence use of Natural Resources
            Personal Injury/Death                                                              Removal and/or clean-up costs
                                                                                               Other: ___________________________________________




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    This form should be filed with the U.S. District Court for the Eastern District of Louisiana in New Orleans, Louisiana in Civil Action No. 10‐8888. While this Direct
Filing Short Form is to be filed in CA No. 10‐8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10‐2771 and Rec. Doc. 982 in MDL 2179), the filing of this form
in C.A. No. 10‐8888 shall be deemed to be simultaneously filed in C.A. 10‐2771 and MDL 2179. Plaintiff Liaison Counsel, after being notified electronically by the Clerk
of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.
                                                                                      1

         The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Brief Description:

1.   For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
     involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
     damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

" I have lost 50% of my business. I have lost income due to the loss of the tourist trade and the
downturn of the economy due to the oil spill. People from out of town would come to the area
and would "arrive on vacation; leave on probation."
I have lost recreational fishing and use of the beach.
I have lost income due to the unavailability of clients and business.
I have lost property value on my home near Mobile Bay (it is being foreclosed on) due to the
loss of income from my business.




2.   For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
     employers 2008 to present and complete authorization forms for each.
At the present time, I have no medical condition related to the presence of oil and/or
dispersants, but I reserve this claim for medical conditions that may arise in the future.




3.   For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
     employer, and where you were working.




                                                                        2

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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)
         1.     Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
                crabbing or oystering.

         2.     Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

         3.     Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
                fishing business who earn their living through the use of the Gulf of Mexico.

         4.     Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
                supply, real estate agents, and supply companies, or an employee thereof.

     ✔   5.     Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.

         6.     Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

         7      Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
                lessees of oyster beds.

    ✔    8.     Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

         9.     Bank, financial institution, or retail business that suffered losses as a result of the spill.

         10.    Person who utilizes natural resources for subsistence.

         11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
         1.     Boat captain or crew involved in the Vessels of Opportunity program.

         2.     Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

         3.     Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
                odors and emissions during post-explosion clean-up activities.

         4.     Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

         5.     Resident who lives or works in close proximity to coastal waters.

         6.     Other:



Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.


 Claimant or Attorney Signature

/s/ Elizabeth A. Citrin
 Print Name

April 18, 2011
 Date




                                                                             3

    The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
